            Case 1:14-cv-13644-PBS Document 4 Filed 12/11/14 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                :
Ernestina Depine,                               :
                                                : Civil Action No.: 1:14-cv-13644-PBS
                      Plaintiff,                :
       v.                                       :
                                                :
Progress Financial Company d/b/a Progreso       :
Financiero; and DOES 1-10, inclusive,           :
                                                :
                      Defendants.               :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)

       Ernestina Depine (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i).

Dated: December 11, 2014

                                                    Respectfully submitted,

                                                    By: /s/ Sergei Lemberg
                                                         Sergei Lemberg, Esq.
                                                         BBO No.: 650671
                                                         Lemberg Law, L.L.C.
                                                         1100 Summer Street, 3rd Floor
                                                         Stamford, CT 06905
                                                         Telephone: (203) 653-2250
                                                         Facsimile: (203) 653-3424
                                                         Attorneys for Plaintiffs
          Case 1:14-cv-13644-PBS Document 4 Filed 12/11/14 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2014, a true and correct copy of the foregoing
Notice of Withdrawal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                           By_/s/ Sergei Lemberg_________
                                               Sergei Lemberg
